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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                              )
                                                       )
                       Plaintiff,                      )
                                                       )       4:07CR3034
       vs.                                             )
                                                       )       PRELIMINARY ORDER
JOSE ANAYA-ZEPEDA,                                     )       OF FORFEITURE
                                                       )
                       Defendant.                      )



       NOW ON THIS 30th day of January, 2008, this matter comes on before the Court upon the

United States' Motion for Issuance of Preliminary Order of Forfeiture. The Court reviews the record

in this case and, being duly advised in the premises, finds as follows:

       1. The Defendant has entered pleas of guilty to Counts I and II of said Indictment. Count

I of said Indictment charges the Defendant with possessing with intent to distribute cocaine, a

violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1). Count II of said Indictment charges the

Defendant with using a 1996 green Toyota Camry, VIN 4T1BG12K1TU712695, to facilitate the

commission of the controlled substance violation and charges said personal property is derived from

proceeds obtained directly or indirectly as a result of the commission of the controlled substance

violation.

       2. By virtue of said plea of guilty, the Defendant forfeits his interest in the subject property,

and the United States should be entitled to possession of said property, pursuant to 21 U.S.C., § 853.

       3. The United States' Motion for Issuance of Preliminary Order of Forfeiture should be

sustained.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:
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       A. The United States' Motion for Issuance of Preliminary Order of Forfeiture is hereby

sustained.

       B. Based upon Count II of the Indictment and the Defendant's plea of guilty, the United

States is hereby authorized to seize the 1996 green Toyota Camry, VIN 4T1BG12K1TU712695.

       C. The Defendant's interest in said property is hereby forfeited to the United States for

disposition in accordance with the law, subject to the provisions of 21 U.S.C., § 853(n)(1).

       D. The aforementioned forfeited property is to be held by the United States in its secure

custody and control.

       E. Pursuant to 21 U.S.C., § 853(n)(1), the United States forthwith shall publish at least once

for three successive weeks in a newspaper of general circulation, in the county where the subject

property is situated, notice of this Order, Notice of Publication evidencing the United States’ intent

to dispose of the property in such manner as the Attorney General may direct, and notice that any

person, other than the Defendant, having or claiming a legal interest in any of the subject forfeited

property must file a Petition with the court within thirty days of the final publication of notice or of

receipt of actual notice, whichever is earlier.

       F. Said published notice shall state the Petition referred to in Paragraph E., above, shall be

for a hearing to adjudicate the validity of the Petitioner's alleged interest in the property, shall be

signed by the Petitioner under penalty of perjury, and shall set forth the nature and extent of the

Petitioner's right, title or interest in the subject property and any additional facts supporting the

Petitioner's claim and the relief sought.




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       G. The United States may also, to the extent practicable, provide direct written notice to any

person known to have alleged an interest in the property subject to this Order as a substitute for

published notice as to those persons so notified.

       H. Upon adjudication of all third-party interests, this Court will enter a Final Order of

Forfeiture pursuant to 21 U.S.C., § 853(n), in which all interests will be addressed.

       ORDERED this 30th day of January, 2008.


                                                        BY THE COURT:

                                                        s/ RICHARD G. KOPF, JUDGE
                                                        United States District Court




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